Case 8:21-cv-01357-JLS-KES Document 1 Filed 08/17/21 Page 1 of 33 Page ID #:1



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  4    mkun@ebglaw.com
  5    Attorneys for Defendant
       McCORMICK & COMPANY, INC.
  6    (incorrectly identified as
       “MCC and CO., INC.”)
  7
  8
                                   UNITED STATES DISTRICT COURT
  9
                                  CENTRAL DISTRICT OF CALIFORNIA
  10
  11
                                                       Case No. 8:21­cv­1357
  12 BONNIE VICARI, an individual,
  13               Plaintiff,                          DEFENDANT’S NOTICE OF
                                                       REMOVAL OF ACTION
  14                     v.                            PURSUANT TO 28 U.S.C. §§ 1332
                                                       AND 1441(b)
  15
     MCC and CO., INC. and DOES 1
  16 through 20, inclusive,
  17                    Defendants.
  18
  19
                 TO THE CLERK OF THE UNITED STATES DISTRICT COURT
  20
       FOR THE CENTRAL DISTRICT OF CALIFORNIA:
  21
                 PLEASE TAKE NOTICE that Defendant McCormick & Company, Inc.
  22
       (incorrectly           identified   as   “MCC   and   Co.,   Inc.”)     (“McCormick”),
  23
       contemporaneously with the filing of this notice, is effecting the removal of the
  24
       above captioned action, Bonnie Vicari v. MCC and Co., Inc.; and Does 1-10,
  25
       inclusive, Case No. 30-2021-01197470-CU-WT-CJC, from the Superior Court of
  26
       the State of California for the County of Orange, to the United States District Court
  27
       for the Central District of California.
  28

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       Firm:53584449v1                          DEFENDANT’S NOTICE OF REMOVAL OF ACTION
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  1              The removal is based on 28 U.S.C. §§ 1332 and 1441(b), specifically, and
  2    on the following grounds:
  3                            PLEADINGS, PROCESS AND ORDERS
  4              1.      On or about April 23, 2021, Plaintiff Bonnie Vicari (“Plaintiff”)
  5    commenced the above-captioned action in the Superior Court of the State of
  6    California, County of Orange against Defendant McCormick & Company, Inc.
  7    (“McCormick”). The action is entitled Bonnie Vicari v. MCC and Co., Inc.; and
  8    Does 1-20, inclusive, Case No. 30-2021-01197478-CU-WT-CJC. The Complaint
  9    purports to state causes of action for retaliation for reporting illegal conduct in
  10 violation of Labor Code § 1102.5 and intentional infliction of emotional distress.
  11             2.      Plaintiff’s counsel mailed McCormick a copy of the Summons and
  12 Complaint on or about July 21, 2021. True and correct copies of the Summons,
  13 Complaint, Civil Cover Sheet, and related papers that McCormick received are
  14 attached hereto collectively as Exhibit 1.
  15             3.      On August 16, 2021, McCormick filed its Answer to the Complaint. A
  16 true and correct copy is attached hereto as Exhibit 2.
  17             4.      Exhibits 1 and 2 constitute all the process, pleadings and orders served
  18 on any party in the Superior Court action.
  19                                 DIVERSITY JURISDICTION
  20             5.      This is a civil action over which the Court has original jurisdiction
  21 under 28 U.S.C. § 1332 in that it is a civil action wherein the matter in controversy
  22 exceeds the sum of $75,000.00, exclusive of interest and costs. This action is one
  23 that may be removed to this Court by McCormick pursuant to 28 U.S.C. § 1441(b)
  24 as the action is between citizens of different states.
  25                                          CITIZENSHIP
  26             6.      McCormick is informed and believes that Plaintiff was, at the time of
  27 filing of this action, and still is a citizen of the State of South Dakota. Her
  28 employment records indicate she lived and worked in South Carolina or South
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  1    Dakota during her employment from 2012 through April 2019, that she was living
  2    in South Dakota at the time of her termination in April 2019, and that she last lived
  3    or worked in California in 2008. (Forte Dec. ¶ 5.)
  4              7.      McCormick is incorporated in the State of Maryland and has its
  5    principal place of business in the State of Maryland. (Forte Dec. ¶ 3.)
  6              8.      Defendant Does 1 through 20, inclusive, are wholly fictitious. The
  7    Complaint does not set forth the identity or the status of any said fictitious
  8    defendants, nor does it set forth any charging allegation against any fictitious
  9    defendants. The naming of said fictitious defendants does not destroy the diversity
  10 of citizenship between the parties in this action. McCabe v. General Foods Corp.,
  11 811 F.2d 1339 (9th Cir. 1997); Hurtle Corporation v. Boeing Company, 678 F.2d
  12 842 (9th Cir. 1982).
  13                                   AMOUNT IN CONTROVERSY
  14             9.      Plaintiff’s Complaint does not specify the total amount in controversy.
  15 The omission in the Complaint of a specified amount in controversy does not
  16 deprive this Court of jurisdiction.           See White v. J.C. Penny Life Insurance
  17 Company, 861 F. Supp. 25, 26 (S.D. W.Va. 1994) (defendant may remove suit to a
  18 federal court notwithstanding the failure of plaintiff to plead a specific dollar
  19 amount in controversy; if the rules were otherwise, “any plaintiff could avoid
  20 removal simply by declining . . . to place a specific dollar amount upon its
  21 claim.”).
  22             10.     It is well settled that in determining whether a complaint meets the
  23 $75,000 amount in controversy threshold of U.S.C. § 1332(a), a court should
  24 consider the aggregate of the claims and the value of the claims. Wolde-Meskal v.
  25 Vocational Instruction Project, 166 F. 3d 59, 62 (2nd Cir. 1999) (the diversity
  26 statute confers jurisdiction over the entire action, not just the specific claims
  27 alleged in a complaint, therefore, the claims of a single plaintiff are aggregated in
  28 order to satisfy the amount in controversy); Bell v. Preferred Life Assurance
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  1    Society, 320 U.S. 238, 240 (1943); Goldberg v. C.P.C. International, Inc., 678 F.
  2    2d 1365, 1367 (9th Cir. 1982) (attorneys’ fee may be taken into account to
  3    determine jurisdictional amounts.)
  4              11.     Plaintiff’s alleged damages, if proven, exceed the $75,000
  5    jurisdictional limit, exclusive of costs and interest. Plaintiff seeks compensation
  6    damages for lost earnings, benefits, emotional distress, attorneys’ fees and
  7    punitive damages (Compl. ¶¶ 21, 22, 28, 29, Prayer for Relief.)
  8              12.     Plaintiff’s claimed damages for lost wages alone amount to almost
  9    half of the requisite amount in controversy. Plaintiff was earning approximately
  10 $148,550 per year at the time of her termination in April 2019. (Forte Decl. ¶ 5.)
  11 As such, her alleged lost wages alone for the 27 months since April 2019 exceed
  12 $330,000.00.1
  13             13.     Plaintiff also seeks damages for alleged emotional distress as well as
  14 punitive damages. Plaintiffs alleging emotional distress in employment cases
  15 regularly seek in excess of $75,000 in such damages. Keiffer v. Bechtel Corp., 65
  16 Cal. App. 4th 893, 895 (1998) (California Court of Appeal upheld jury award in
  17 excess of $75,000 for emotional distress damages); Satrap v. Pac. Gas & Elec.
  18 Co., 42 Cal. App. 4th 72, 76 (1996) (jury award in excess of $75,000 in non-
  19 economic damages was upheld).
  20             14.     Plaintiff also seeks attorneys’ fees in her Complaint. (Compl., Prayer
  21 for Relief.) Attorneys’ fees are included in determining the jurisdictional amount.
  22 Richmond v. Allstate Ins. Co., 897 F. Supp. 447, 450 (S.D. Cal. 1995); Galt G/S v.
  23 JSS Scandinavia, 142 D. 3d 1150, 1155-56 (9th Cir. 1988).
  24             15.     Including all of the relief Plaintiff seeks, the amount in controversy in
  25 this case exceeds $75,000. Accordingly, the amount in controversy has been
  26 exceeded and this Action is removable under 28 U.S.C. §§ 1332 and 1441.
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           / $148,550 ÷ 12 months x 27 months = $334,237.50.
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  1                                  TIMELINESS OF REMOVAL
  2              16.     The Notice of Removal was timely filed in that it was filed within 30
  3    days of service of the Summons and Complaint and within one (1) year of the
  4    filing of the Complaint.
  5              17.     No pleadings other than the Summons and Complaint have been
  6    served on McCormick, as set forth above.
  7              18.     For all of the foregoing reasons, this Court has original jurisdiction
  8    under 28 U.S.C. §§ 1332 and 1441(b).
  9                                              VENUE
  10             19.     Plaintiff’s state court complaint was filed in a California Superior
  11 Court within this District. 28 U.S.C. § 84(c).
  12
  13 DATED: August 17, 2021                         EPSTEIN BECKER & GREEN, P.C.
  14                                                By: /s/ Michael S. Kun
                                                        Michael S. Kun
  15
                                                         Attorneys for Defendant
  16                                                     McCORMICK & COMPANY,
                                                         INC.
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                Exhibit 1
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                 Exhibit 2
      Case Electronically
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                          Filed by Superior Court of California, County of Orange, 08/16/2021 08:58:00 AM.
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      3ODLQWLIIUHFHLYHGIURPDQ\VRXUFHDIWHU3ODLQWLIIFHDVHGWRSHUIRUPZRUNIRU'HIHQGDQWFRQVLVWHQW
      ZLWKWKHFRPPRQODZGRFWULQHRIRIIVHWDQGWKHGRFWULQHSURKLELWLQJGRXEOHUHFRYHU\VHWIRUWK
      XQGHU:LWWY-DFNVRQ  &DOGDQGLWVSURJHQ\
                              6(9(17((17+$)),50$7,9('()(16(
                                           $IWHU$FTXLUHG(YLGHQFH 
                  7KH&RPSODLQWLVOLPLWHGRUVXEMHFWWRDQDEVROXWHEDUDVWRUHFRYHUDEOHGDPDJHV
      EDVHG RQ DIWHUDFTXLUHG HYLGHQFH WKDW 'HIHQGDQW SUHVHQWO\ KDV DQGRU PD\ DFTXLUH GXULQJ WKH
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       FRXUVHRIWKLVOLWLJDWLRQ
                                 (,*+7((17+$)),50$7,9('()(16(
                                                 %UHDFK2I'XWLHV 
                   3ODLQWLII¶VFODLPVIDLOWRVWDWHIDFWVVXIILFLHQWWRFRQVWLWXWHDFDXVHRIDFWLRQEHFDXVH
       3ODLQWLIIZLOOIXOO\EUHDFKHGKHUGXWLHVDVDQHPSOR\HHQHJOHFWHGKHUGXWLHVIDLOHGWRSHUIRUPKHU
       GXWLHVDQGRUIDLOHGWRXVHRUGLQDU\ FDUH DQGGLOLJHQFHLQWKHSHUIRUPDQFHRIKHU HPSOR\PHQW
       SXUVXDQWWR&DOLIRUQLD/DERU&RGH
                                 1,1(7((17+$)),50$7,9('()(16(
                                                  6DPH'HFLVLRQV 
                  $Q\UHFRYHU\RQ3ODLQWLII¶V&RPSODLQWRUDQ\FDXVHRIDFWLRQDOOHJHGWKHUHLQLV
      EDUUHGEHFDXVHDVVXPLQJDUJXHQGR,WKDWUHWDOLDWRU\UHDVRQVKDGEHHQDPRWLYDWLQJIDFWRULQDQ\
      HPSOR\PHQWGHFLVLRQVFRQFHUQLQJ3ODLQWLII'HIHQGDQWZRXOGKDYHPDGHWKHVDPHHPSOR\PHQW
      GHFLVLRQVWRZDUG3ODLQWLIILQDQ\FDVHIRUOHJLWLPDWHQRQUHWDOLDWRU\EXVLQHVVUHDVRQV
                                    7:(17,(7+$)),50$7,9('()(16(
                                            /LPLWDWLRQ2Q'DPDJHV 
                  'HIHQGDQW¶V OLDELOLW\ LI DQ\ IRU QRQHFRQRPLF GDPDJHV FODLPHG E\ 3ODLQWLII LV
      OLPLWHGE\&DOLIRUQLD&LYLO&RGHHWVHT
                               7:(17<),567$)),50$7,9('()(16(
                                                   1R6FLHQWHU 
                  $WDOOWLPHV'HIHQGDQWDFWHGLQJRRGIDLWKDQGZLWKRXWWKHUHTXLVLWHVFLHQWHU
                             7:(17<6(&21'$)),50$7,9('()(16(
                                         /HJLWLPDWH%XVLQHVV5HDVRQV 
                  'HIHQGDQW¶VDFWLRQVZHUHIRUOHJLWLPDWHEXVLQHVVUHDVRQVPDGHLQJRRGIDLWKDQG
      ZHUHQRWEDVHGXSRQ3ODLQWLII¶VDOOHJHGSURWHFWHGDFWLYLW\RURWKHUIDFWRUVSURWHFWHGE\ODZ
                              7:(17<7+,5'$)),50$7,9('()(16(
                                               0RWLYDWLQJ)DFWRU 
                  $Q\UHFRYHU\RQ3ODLQWLII¶V&RPSODLQWRUDQ\FDXVHRIDFWLRQDOOHJHGWKHUHLQLV
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       EDUUHGLQWKDW3ODLQWLII¶VDOOHJHGSURWHFWHGDFWLYLW\ZDVQRWDPRWLYDWLQJIDFWRULQDQ\DFWLRQVRU
       HPSOR\PHQWGHFLVLRQVPDGHFRQFHUQLQJ3ODLQWLII
                              7:(17<)2857+$)),50$7,9('()(16(
                                               1R,QWHQWLRQDO&RQGXFW 
                   3ODLQWLII¶VFODLPVDUHEDUUHGLQZKROHRULQSDUWEHFDXVHWKHDOOHJHGUHWDOLDWRU\
       FRQGXFWZDVQRWLQWHQWLRQDO
                                7:(17<),)7+$)),50$7,9('()(16(
                                                      -XVWLILFDWLRQ 
                   'HIHQGDQW¶VDOOHJHGFRQGXFWDVVHWIRUWKLQ3ODLQWLII V&RPSODLQWDQGHDFKRILWV
      SXUSRUWHGFDXVHVRIDFWLRQZDVIXOO\MXVWLILHG
                               7:(17<6,;7+$)),50$7,9('()(16(
                                               6SHFXODWLYH'DPDJHV 
                  $VWRHDFKDQGHYHU\FDXVHRIDFWLRQVHWIRUWKLQ3ODLQWLII¶V&RPSODLQW'HIHQGDQW
      LVLQIRUPHGDQGEHOLHYHVDQGEDVHGWKHUHRQDOOHJHVWKDWWKHGDPDJHVSUD\HGIRUDUHVSHFXODWLYH
      DQGXQIRUHVHHDEOHDQGWKHUHIRUH3ODLQWLIILVEDUUHGIURPUHFRYHU\
                             7:(17<6(9(17+$)),50$7,9('()(16(
                                                8QMXVW(QULFKPHQW 
                  $VWRHDFKDQGHYHU\FDXVHRIDFWLRQVHWIRUWKLQ3ODLQWLII¶V&RPSODLQW'HIHQGDQW
      LV LQIRUPHG DQG EHOLHYHV DQG EDVHG WKHUHRQ DOOHJHV WKDW JUDQWLQJ 3ODLQWLII¶V SUD\HU IRU UHOLHI
      ZRXOGXQMXVWO\HQULFK3ODLQWLIIDV3ODLQWLIIZRXOGEHUHFHLYLQJPRUHWKDQWRZKLFKVKHLVHQWLWOHG
                              7:(17<(,*+7+$)),50$7,9('()(16(
                                            $WWRUQH\V¶)HHV$QG&RVWV 
                  'HIHQGDQWKDVHQJDJHGDWWRUQH\VWRUHSUHVHQWLWLQGHIHQVHRI3ODLQWLII¶VIULYRORXV
      XQIRXQGHGDQGXQUHDVRQDEOHDFWLRQDQG'HIHQGDQWLVWKHUHE\HQWLWOHGWRDQDZDUGRIUHDVRQDEOH
      DWWRUQH\V¶IHHVDQGFRVWVXSRQMXGJPHQWWKHUHRQLQLWVIDYRU
                  'HIHQGDQWKHUHE\JLYHVQRWLFHWKDWLWLQWHQGVWRUHO\XSRQDQ\RWKHUGHIHQVHVWKDW
      PD\ EHFRPH DYDLODEOH RU DSSHDU GXULQJ WKH GLVFRYHU\ SURFHHGLQJV LQ WKLV FDVH DQG KHUHE\
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       UHVHUYHVWKHULJKWWRDPHQGLWVDQVZHUWRDVVHUWDQ\VXFKGHIHQVHV
                  :+(5()25('HIHQGDQWUHVSHFWIXOO\UHTXHVWVWKDW
                     3ODLQWLIIWDNHQRWKLQJE\KHU&RPSODLQW
                     -XGJPHQWEHHQWHUHGLQIDYRURI'HIHQGDQWDQGDJDLQVW3ODLQWLIIRQDOOFDXVHVRI
       DFWLRQ
                     'HIHQGDQWEHDZDUGHGFRVWVRIVXLWDQGDWWRUQH\V¶IHHVKHUHLQDQG
                     )RUVXFKRWKHUDQGIXUWKHUUHOLHIDVWKH&RXUWGHHPVMXVWDQGSURSHU
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        $WWKHWLPHRIVHUYLFH,ZDVDWOHDVW\HDUVRIDJHDQGQRWDSDUW\WRWKLVOHJDODFWLRQ
        0\EXVLQHVVDGGUHVVLV&HQWXU\3DUN(DVW6XLWH/RV$QJHOHV&$
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                 DGGUHVVHGWRWKHSHUVRQVDWWKHDGGUHVVHVLQLWHPDQGSODFHGWKHHQYHORSHIRU
                   FROOHFWLRQDQGPDLOLQJRQWKHGDWHVKRZQEHORZIROORZLQJRXURUGLQDU\EXVLQHVV
                 SUDFWLFHV,DPUHDGLO\IDPLOLDUZLWKWKLVEXVLQHVV¶VSUDFWLFHIRUFROOHFWLQJDQG
                   SURFHVVLQJFRUUHVSRQGHQFHIRUPDLOLQJ2QWKHVDPHGD\WKDWFRUUHVSRQGHQFHLV
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                   ZLWKWKH8QLWHG6WDWHV3RVWDO6HUYLFHLQDVHDOHGHQYHORSHZLWKSRVWDJHIXOO\
                 SUHSDLG
            ,DPDUHVLGHQWRUHPSOR\HGLQWKHFRXQW\ZKHUHWKHPDLOLQJRFFXUUHG7KHHQYHORSHRU
                   SDFNDJHZDVSODFHGLQWKHPDLODW/RV$QJHOHV&DOLIRUQLD
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            F‫܆‬%\RYHUQLJKWGHOLYHU\,HQFORVHGWKHGRFXPHQWVRQWKHGDWHVKRZQEHORZLQDQ
                    HQYHORSHRUSDFNDJHSURYLGHGE\DQRYHUQLJKWGHOLYHU\FDUULHUDQGDGGUHVVHGWRWKH
                  SHUVRQDWWKHDGGUHVVHVLQLWHP,SODFHGWKHHQYHORSHRUSDFNDJHIRUFROOHFWLRQ
                    DQGRYHUQLJKWGHOLYHU\DWDQRIILFHRUDUHJXODUO\XWLOL]HGGURSER[RIWKHRYHUQLJKW
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           G ‫܆‬%\PHVVHQJHUVHUYLFH,VHUYHGWKHGRFXPHQWVRQWKHGDWHVKRZQEHORZE\SODFLQJ
                  WKHPLQDQHQYHORSHRUSDFNDJHDGGUHVVHGWRWKHSHUVRQRQWKHDGGUHVVHVOLVWHGLQ
                LWHPDQGSURYLGLQJWKHPWRDSURIHVVLRQDOPHVVHQJHUVHUYLFHIRUVHUYLFH $
                  GHFODUDWLRQE\WKHPHVVHQJHUPXVWDFFRPSDQ\WKLVSURRIRIVHUYLFHRUEHFRQWDLQHGLQ
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                 GDWHVKRZQEHORZWRWKHHPDLODGGUHVVHVRIWKHSHUVRQVOLVWHGLQLWHP,GLGQRW

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